      Case 3:16-md-02741-VC Document 2607 Filed 01/30/19 Page 1 of 2




     WILKINSON WALSH + ESKOVITZ LLP               ARNOLD & PORTER KAYE SCHOLER
 1                                                LLP
     Brian L. Stekloff (pro hac vice)
     (bstekloff@wilkinsonwalsh.com)               Pamela Yates (CA Bar No. 137440)
 2                                                (Pamela.Yates@arnoldporter.com)
     Rakesh Kilaru (pro hac vice)
                                                  777 South Figueroa St., 44th Floor
 3   (rkilaru@wilkinsonwalsh.com)                 Los Angeles, CA 90017
     2001 M St. NW, 10th Floor                    Tel: (213) 243-4178
 4   Washington, DC 20036                         Fax: (213) 243-4199
     Tel: (202) 847-4030
 5   Fax: (202) 847-4005
 6                                                COVINGTON & BURLING LLP
     HOLLINGSWORTH LLP
     Eric G. Lasker (pro hac vice)                Michael X. Imbroscio (pro hac vice)
 7
     (elasker@hollingsworthllp.com)               (mimbroscio@cov.com)
 8   1350 I St. NW                                One City Center
     Washington, DC 20005                         850 10th St. NW
 9   Tel: (202) 898-5843                          Washington, DC 20001
     Fax: (202) 682-1639                          Tel: (202) 662-6000
10

11   Attorneys for Defendant
     MONSANTO COMPANY
12

13
                                UNITED STATES DISTRICT COURT
14                             NORTHERN DISTRICT OF CALIFORNIA
15
     IN RE: ROUNDUP PRODUCTS                     ) MDL No. 2741
16   LIABILITY LITIGATION                        ) Case No. 3:16-md-02741-VC
                                                 )
17                                               ) MONSANTO COMPANY’S REPLY TO
      Hardeman v. Monsanto Co., et al.,          ) PLAINTIFFS MOTION IN LIMINE 6 TO
18    3:16-cv-0525-VC                            ) EXCLUDE EVIDENCE OF PAST
      Stevick v. Monsanto Co., et al.,           )
19    3:16-cv-2341-VC                            )     , AND MOTIONS IN LIMINE 11
      Gebeyehou v. Monsanto Co., et al.,         ) AND 12 TO EXCLUDE EVIDENCE AND
20    3:16-cv-5813-VC                            ) ARGUMENT ABOUT HOW MR.
                                                 ) HARDEMAN                      AND
21

22

23

24

25

26

27
                                                     -1-
28     MONSANTO COMPANY’S REPLY TO PLAINTIFFS MOTION IN LIMINE 6 TO EXCLUDE EVIDENCE OF PAST
            , AND MOTIONS IN LIMINE 11 AND 12 TO EXCLUDE EVIDENCE AND ARGUMENT ABOUT HOW MR.
                                HARDEMAN                          AND
                    3:16-md-02741-VC & 3:16-cv-0525-VC, 3:16-cv-2341-VC, 3:16-cv-5813-VC
Case 3:16-md-02741-VC Document 2607 Filed 01/30/19 Page 2 of 2




    DOCUMENT FILED

            UNDER SEAL
